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                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                       SEP 22 2017
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




   In re: AMERICAN APPAREL, INC.,               No. 15-56258
   2014 Derivative Shareholder
   Litigation,
                                                D.C. No. 2:14-cv-05230-MWF-JEM
                                                U.S. District Court for Central
   PETER KRAVITZ, as Trustee for and            California, Los Angeles
   on behalf of AAI Litigation Trust,,
                                                MANDATE
                 Plaintiff - Appellant,

     v.

   DOV CHARNEY; et al.,

                 Defendants - Appellees.


          The judgment of this Court, entered August 31, 2017, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Jessica F. Flores Poblano
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
